Case 2:15-cr-00193-SDW Document 395 Filed 07/01/19 Page 1 of 2 PagelD: 11552

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA, Hon. Susan D. Wigenton

Vv. Docket No.: Cr. 15-193 (SDW)
WILLIAM E. BARONI, JR., and BRIDGET ORDER GRANTING BAIL
ANNE KELLY,

Defendants.

 

 

THIS MATTER having come before the Court upon the unopposed application of
Michael A. Levy, Esq., of Sidley Austin LLP and Stephen M. Orlofsky, Esq., of Blank Rome
LLP, counsel for defendant William E. Baroni, Jr. (“Baroni”); and the Court having considered
the relevant papers and arguments; and the Court finding that Baroni is neither a flight risk nor a
safety concern; and the Court finding that Baroni’s appeal raises substantial questions justifying
release on bail; and the Court having determined that, in the unusual circumstances of this case,
even were bail unavailable under Title 18, United States Code, Section 3143(b), it would be
appropriate through Title 28, United States Code, Section 2255; and for other good cause shown:

IT IS, on this (Ku of July 2019:

1. ORDERED that Baroni’s Motion for Bail is GRANTED pending disposition of his

and Bridget Kelly’s case in the United States Supreme Court and, in the event
Case 2:15-cr-00193-SDW Document 395 Filed 07/01/19 Page 2 of 2 PagelD: 11553

Baroni’s conviction is not affirmed, for such additional time as the case remains on
appeal; and it is further

2. ORDERED that, in accordance with the above, the Bureau of Prisons shall release
Baroni FORTHWITH ; and it is further

3. ORDERED that the conditions of bail in place immediately prior to Baroni’s
surrender to serve his sentence are reimposed, with Baroni to re-execute the

previously entered bond within seven days of his re

  
   
  

 

LE SUSAN D. WIGENTON
ED/ STATES DISTRICT JUDGE
